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 7
   Attorneys for Counter-Defendant
 8 Tauler Smith LLP
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10
                          UNITED STATES DISTRICT COURT
11
                       SOUTHERN DISTRICT OF CALIFORNIA
12
13   IN RE OUTLAW LABORATORIES,           Case No.: 18-cv-840-GPC-BGS
     LP LITIGATION
14                                        COUNTER-DEFENDANT TAULER
15                                        SMITH LLP’S MOTION TO FILE
                                          DOCUMENT UNDER SEAL
16
                                          Judge:     Hon. Gonzalo P. Curiel
17
                                          Courtroom: Courtroom 2D
18
                                          Filed Concurrently:
19
                                             1. Opposition to Ex Parte; and
20                                           2. Declaration of Kevin J. Cole
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               TAULER SMITH LLP’S MOTION TO FILE DOCUMENT UNDER SEAL
  Case 3:18-cv-00840-GPC-BGS Document 327 Filed 11/02/20 PageID.8001 Page 2 of 3



 1        Pursuant to the Protective Order in this case (ECF # 235), Counter-Defendant Tauler
 2 Smith LLP (“Tauler Smith”) submits this Motion to File Under Seal a compilation of e-
 3 mail exchanges identified as Exhibit S in Tauler Smith’s Rule 26(a)(3) Disclosures
 4 (“Exhibit S”). See ECF # 309 at PageID.7750.
 5        Exhibit S is relevant to Tauler Smith’s Opposition to Outlaw Laboratory, L.P.’s,
 6 Michael Wear’s, and Shawn Lynch’s (collectively, “Outlaw”) Ex Parte Motion to Prevent
 7 Tauler Smith’s Disclosure of Privileged Materials (ECF # 321) because it establishes one
 8 of the documents Outlaw claims privilege over (Exhibit S) is not actually privileged. After
 9 all, those e-mails are between Eric Boss (an attorney whose law firm provided financing
10 to Outlaw), Outlaw’s principals, Outlaw’s current counsel (Sean Reagan), Robert Tauler,
11 and Wes Taulbee (one of Outlaw’s Georgia-based attorneys). It is difficult to see how this
12 e-mail exchange—which includes someone who does not represent Outlaw, and never has
13 (Eric Boss)—is privileged. Nonetheless, and out of caution, Tauler Smith is filing those
14 e-mails (Exhibit S) under seal due to Outlaw’s claim of privilege.
15
16 DATED: November 2, 2020                Respectfully submitted,

17                                        KJC LAW GROUP, A.P.C.
18                                  By:   /s/ Kevin J. Cole
19                                        Attorneys for Counter-Defendant
                                          Tauler Smith LLP
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                TAULER SMITH LLP’S MOTION TO FILE DOCUMENT UNDER SEAL
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 1                              CERTIFICATE OF SERVICE
 2        I hereby certify that I electronically filed, or caused to be filed, the foregoing with
 3 the Clerk of the Court for the United States District Court for the Southern District of
 4 California by using the CM/ECF system on November 2, 2020. I further certify that all
 5 participants in the case are registered CM/ECF users and that service will be accomplished
 6 by the CM/ECF system.
 7        I certify under penalty of perjury that the foregoing is true and correct. Executed on
 8 November 2, 2020.
 9                                         KJC LAW GROUP, A.P.C.

10                                  By:    /s/ Kevin J. Cole
                                           Attorneys for Counter-Defendant
11                                         Tauler Smith LLP
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               TAULER SMITH LLP’S MOTION TO FILE DOCUMENT UNDER SEAL
